           Case:14-00709-MAG7 Doc#:225 Filed:02/24/22 Entered:02/28/22 12:50:40                                                                  Desc:
                             Imaged Certificate of Notice Page 1 of 4
                                                              United States Bankruptcy Court
                                                                  District of Puerto Rico
In re:                                                                                                                 Case No. 14-00709-MAG
RAUL GONZALEZ RODRIGUEZ                                                                                                Chapter 7
IDALY RIVERA GALIANO
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0104-2                                                  User: centenoa                                                              Page 1 of 3
Date Rcvd: Feb 22, 2022                                               Form ID: caserea                                                          Total Noticed: 27
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 24, 2022:
Recip ID                 Recipient Name and Address
db/jdb                 + RAUL GONZALEZ RODRIGUEZ, IDALY RIVERA GALIANO, PO BOX 1647, HORMIGUEROS, PR 00660-5647
3869562                  DELGADO MIRANDA LAW OFFICES, PMB 112, 130 AVE WINSTON SUITE 1, SaN Juan, PR 00926-2226
3869566                + Island Finance, P.O. Box 673, Mayaguez, PR 00681-0673
3869568                  LCDO CARLOS CABRERA COLON, PO BOX 7105, PONCE, PR 00732-7105
3869569                + LVNV, BOX 3038, Evansville, IN 47730-3038
3869559                + MIRIAM LOZADA RAMIREZ,ESQ., PASEO LOS ROBLES, 3020 JOSE MONGE, MAYAGUEZ, PR 00682-7918
3869799                  PR ACQUISITIONS LLC, PO BOX 194499, SAN JUAN PR 00919-4499
3869570                + PR Asset PORTFOLIO, PMB 112, 130 AVE Winston Churchill, San Juan, PR 00926-6065
3869571                  PR Telephone Co., P.O. Box 71401, San Juan, P.R. 00936-8501
3869572                + ROBERTO SANTANA- LEBRON, LUZ RIVERA RODR, CALLE COMERCIO #5, HORMIGUEROS, PR 00660-1805
3870258                + U.S. Federal Financial, L.L.C., P.O. Box 193781, SAN JUAN, P.R. 00919-3781
4143004                + US FEDERAL FINANCIAL, PO BOX 193781, SAN JUAN PR 00919-3781
3869560                + US FEDERAL FINANCIAL,LLC, PO BOX 71375, SAN JUAN, PR 00936-8475
4142750                + u.s. federal financial llc, P.O. Box 193791, San Juan, P.R. 00919-3791

TOTAL: 14

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
3933936                   Email/Text: hildaris.burgos@popular.com
                                                                                        Feb 22 2022 21:35:00      BANCO POPULAR DE PUERTO RICO -
                                                                                                                  SPECIAL LOANS, PO BOX 362708, SAN JUAN
                                                                                                                  PR 00936-2708
3869574                   Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                        Feb 22 2022 22:00:56      SEARS, P. O. Box 183001, COLUMBUS, OH
                                                                                                                  43218-3001
3869561                   Email/Text: cfigueroa@crimpr.net
                                                                                        Feb 22 2022 21:36:00      CRIM, PO BOX 195387, San Juan, P.R.
                                                                                                                  00919-5387
3869563                   Email/Text: bankruptcy@hacienda.pr.gov
                                                                                        Feb 22 2022 21:46:00      DEPARTAMENTO DE HACIENDA, P.O. Box
                                                                                                                  9024140, San Juan, P.R. 00902-4140
3974010                   Email/Text: bankruptcy@hacienda.pr.gov
                                                                                        Feb 22 2022 21:46:00      DEPARTMENT OF TREASURY,
                                                                                                                  BANKRUPTCY SECTION 424 B, PO BOX
                                                                                                                  9024140, SAN JUAN, PR 00902-4140
4843851                + Email/Text: bankruptcy@hacienda.pr.gov
                                                                                        Feb 22 2022 21:46:00      DEPARTMENT OF TREASURY, SECTION OF
                                                                                                                  BANKRUPTCY 424-B, P.O. BOX 9024140, SAN
                                                                                                                  JUAN P.R. 00902-4140
4085333                + Email/Text: wcaraballo@fondopr.com
                                                                                        Feb 22 2022 21:33:00      FONDO SEGURO DEL ESTADO, PO BOX
                                                                                                                  365028, SAN JUAN PR 00936-5028
3869565                   Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                                        Feb 22 2022 21:33:00      INTERNAL REVENUE SERVICE, ATTN.
                                                                                                                  BANKRUPTCY DEPT., PO BOX 7346,
                                                                                                                  PHILADELPHIA, PA 19101-7346
           Case:14-00709-MAG7 Doc#:225 Filed:02/24/22 Entered:02/28/22 12:50:40                                                           Desc:
                             Imaged Certificate of Notice Page 2 of 4
District/off: 0104-2                                               User: centenoa                                                         Page 2 of 3
Date Rcvd: Feb 22, 2022                                            Form ID: caserea                                                     Total Noticed: 27
3869567                  Email/PDF: gecsedi@recoverycorp.com
                                                                                   Feb 23 2022 14:26:27     JC Penney, P.O. Box 364788, San Juan, P.R.
                                                                                                            00936-4788
3934371                  Email/PDF: resurgentbknotifications@resurgent.com
                                                                                   Feb 22 2022 22:00:33     LVNV Funding, LLC its successors and assigns
                                                                                                            as, assignee of Citibank (South Dakota),, N.A.,
                                                                                                            Resurgent Capital Services, PO Box 10587,
                                                                                                            Greenville, SC 29603-0587
3965319                  Email/PDF: ebn_ais@aisinfo.com
                                                                                   Feb 22 2022 22:00:58     Midland Funding LLC, by American InfoSource
                                                                                                            LP as agent, ATTN: Department 1, PO Box 4457,
                                                                                                            Houston, TX 77210-4457
4274911                  Email/Text: wcaraballo@fondopr.com
                                                                                   Feb 22 2022 21:33:00     STATE INSURANCE FUND CORPORATION,
                                                                                                            PO BOX 365028, SAN JUAN, PUERTO RICO
                                                                                                            00936-5028
3869573               + Email/PDF: gecsedi@recoverycorp.com
                                                                                   Feb 22 2022 22:32:42     Sam 'S CLUB, PO 105982 DEPT 77, Atlanta, GA
                                                                                                            30348-5982

TOTAL: 13


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
3869555                       2:14-bk-709
3869564                       GE PUERTO RICO
3869556                       RAUL GONZALEZ RODRIGUEZ
4843853         *+            DEPARTMENT OF TREASURY, SECTION OF BANKRUPTCY 424-B, P.O. BOX 9024140, SAN JUAN P.R. 00902-4140
4843856         *+            DEPARTMENT OF TREASURY, SECTION OF BANKRUPTCY 424-B, P.O. BOX 9024140, SAN JUAN P.R. 00902-4140
3869558         *+            IDALY RIVERA GALIANO, PO BOX 1647, Hormigueros, PR 00660-5647
3869557         *+            RAUL GONZALEZ RODRIGUEZ, PO BOX 1647, Hormigueros, PR 00660-5647
3869575         ##+           SECURITY CREDIT, 2653 West Oxford Loop,, Suite 108, Oxford, MS 38655-2929

TOTAL: 3 Undeliverable, 4 Duplicate, 1 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 24, 2022                                        Signature:           /s/Joseph Speetjens




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on February 22, 2022 at the address(es) listed
below:
Name                             Email Address
CARLOS G BATISTA JIMENEZ
                                 on behalf of Creditor US FEDERAL FINANCIAL LLC lcdobatista@frauyasoc.com

EDUARDO M VERAY
                                 on behalf of Creditor BANCO POPULAR DE PR SPCIAL LOANS eduardo.veray@popular.com eduardoveray@gmail.com

MIGDA L RODRIGUEZ COLLAZO
                        on behalf of Creditor TREASURY DEPARTMENT OF THE COMMONWEALTH OF PUERTO RICO
                        bankruptcyjusticia.gobierno.pr@gmail.com mlrcbankruptcy@gmail.com
           Case:14-00709-MAG7 Doc#:225 Filed:02/24/22 Entered:02/28/22 12:50:40                                         Desc:
                             Imaged Certificate of Notice Page 3 of 4
District/off: 0104-2                                      User: centenoa                                                 Page 3 of 3
Date Rcvd: Feb 22, 2022                                   Form ID: caserea                                             Total Noticed: 27
MIGDALIA EFFIE GUASP
                          on behalf of Creditor BANCO POPULAR DE PR SPCIAL LOANS megbky@bppr.com migdalia.guasp@popular.com,
                          migdalia.guasp@popular.com

MIRIAM SOCORRO LOZADA RAMIREZ
                       on behalf of Debtor RAUL GONZALEZ RODRIGUEZ miriamlozada@gmail.com LOZADAMR73270@notify.bestcase.com

MONSITA LECAROZ ARRIBAS
                          ustpregion21.hr.ecf@usdoj.gov

NOEMI LANDRAU RIVERA
                          on behalf of Trustee NOEMI LANDRAU RIVERA nlandrau@landraulaw.com assistant@landraulaw.com

UNITED STATES TRUSTEE
                          ustpregion21.hr.ecf@usdoj.gov

WIGBERTO LUGO MENDER
                          trustee@lugomender.com wlugo@ecf.axosfs.com


TOTAL: 9
    Case:14-00709-MAG7 Doc#:225 Filed:02/24/22 Entered:02/28/22 12:50:40                                 Desc:
                      Imaged Certificate of Notice Page 4 of 4
                              IN THE UNITED STATES BANKRUPTCY COURT
                                          District of Puerto Rico



IN RE:
                                                           Case No. 14−00709 MAG
RAUL GONZALEZ RODRIGUEZ
IDALY RIVERA GALIANO
                                                           Chapter 7

xxx−xx−1762
xxx−xx−2158
                                                           FILED & ENTERED ON 2/22/22
                        Debtor(s)



                         NOTICE TO ALL CREDITORS AND PARTIES IN INTEREST

Please take notice that the instant case has been reassigned to the Honorable Maria de los Angeles Gonzalez, U.S.
Bankruptcy Judge.



In San Juan, Puerto Rico, this Tuesday, February 22, 2022.




                                                           By:ALVIN CENTENO GONZALEZ
                                                            Deputy Clerk
